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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY,
 and THE PROCTER & GAMBLE
 DISTRIBUTING COMPANY,
        Plaintiffs,                                  MEMORANDUM DECISION AND
                                                     ORDER GRANTING PLAINTIFFS’
                                                     MOTION FOR SUMMARY
                                                     JUDGMENT AND DENYING
                                                     DEFENDANTS’ MOTION FOR
                                                     SUMMARY JUDGMENT ON THE
                                                     LANHAM ACT CLAIM


                vs.


 RANDY L. HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
        Defendants.




                                   I. INTRODUCTION

       This matter is before the Court on the parties’ Motions for Summary Judgment on

the Lanham Act claim. The Court need not recount this case’s long and complicated

procedural history, except to note that, after ten years of litigation, the Lanham Act claim

is the only claim that remains for the upcoming jury trial. The background facts necessary

to understand the current motions are that sometime in 1995, some or all of the

Defendants, independent distributors of Amway products, disseminated a voice mail

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message via Amways’ Amvox voice mail system, stating, among other things, that a large

portion of the profits of Plaintiff Procter & Gamble’s products went to support a satanic

church (Amvox Messages).        The rumor contained in the Amvox Messages is now

acknowledged by all parties to be false. As a result of the Amvox messages, Plaintiff

Procter & Gamble (P & G) filed the present action, as well as a companion case in Texas

(the Texas case).1    This case has resulted in three appeals to the Tenth Circuit, the

opinion resulting from the first of which is the subject of one of the present Motions.2

       For the reasons stated below, the Court will grant Plaintiffs partial summary

judgment on their Lanham Act claim and will deny Defendants’ Motion for Summary

Judgment on the same claim.

                        II. SUMMARY JUDGMENT STANDARD

       “Summary judgment is proper only if there is no genuine issue of material fact for

determination, and the moving party is entitled to judgment as a matter of law.”3 The Court

reviews “the entire record on summary judgment . . . in the light most favorable to the party




       1
        Procter & Gamble Co. v. Amway Corp., 80 F.Supp.2d 639 (S.D. Tex. 1999);
rev’d in part Procter & Gamble Co. v. Amway Corp., 242 F.3d 539 (5th Cir. 2001);
Procter & Gamble Co. v. Amway Corp., 376 F.3d 496, 498 (5th Cir. 2004); see also
Amway Corp. v. Procter & Gamble Co., 346 F.3d 180, 182-84, 188 (6th Cir. 2003)
(noting long history of interrelated litigation).
       2
       Procter & Gamble Co. v. Haugen (P & G I), 222 F.3d 1262 (10th Cir. 2000);
Procter & Gamble Co. v. Haugen (P & G II), 317 F.3d 1121 (10th Cir. 2003); Procter &
Gamble Co. v. Haugen (P & G III), 427 F.3d 727 (10th Cir. 2005).
       3
       Durham v. Herbert Olbrich GMBH & Co., 404 F.3d 1249, 1250 (10th Cir. 2005)
(quoting Riley v. Brown & Root, Inc., 896 F.2d 474, 476 (10th Cir. 1990)).

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opposing summary judgment.”4 “As to materiality, the substantive law will identify which

facts are material. Only disputes over facts that might affect the outcome of the suit under

the governing law will properly preclude the entry of summary judgment. Factual disputes

that are irrelevant or unnecessary will not be counted.”5

                                 III. PLAINTIFF’S MOTION

       Plaintiffs style their Motion as a Motion for Summary Judgment, however, the Motion

is more accurately described as seeking partial summary judgment. Plaintiffs move for

partial summary judgment on their Lanham act regarding the following: that Defendants

sent the Amvox Messages containing the rumor, that the rumor was false, and that it

constituted commercial speech. Defendants admit the first two items. The parties

disagree on whether the Tenth Circuit’s opinion in P & G I6 determined the third item—that

the Amvox Messages were commercial speech. Both rely on the Tenth Circuit’s opinion

in P & G I, but disagree as to its meaning.

       Arguing that P & G I did not decide the issue, Defendants now attempt to argue

what they “at no time”7 argued before—that the Amvox Messages were not commercial

speech because they contain a significant theological component that was inextricably

intertwined with a theological purpose.



       4
           Id.
       5
      Bartell v. Aurora Public Schools, 263 F.3d 1143, 1146 (10th Cir. 2001) (quoting
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).
       6
           222 F.3d 1262.
       7
           P & G I, 222 F.3d at 1275.

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       Because this Court is free to determine only those matters which were not

“expressly or impliedly disposed of on appeal,”8 this Court must examine the P & G I

opinion and mandate to determine whether the commercial speech nature of the Amvox

Messages issue was decided.9

       Defendants, appellees in P & G I, raised the specific issue of whether the Amvox

Messages were “commercial speech” and therefore within the meaning of the phrase

“commercial advertising or promotion” in § 42(a) of the Lanham Act.10 The Tenth Circuit

thoroughly examined that specific issue.11 In so doing, the Tenth Circuit adopted a four-

part test for determining the “commercial advertising or promotion” element of a §

43(a)(1)(B) Lanham Act claim:

       In order for representations to constitute “commercial advertising or
       promotion” under Section 43(a)(1)(B) [of the Lanham Act], they must be: (1)
       commercial speech; (2) by a defendant who is in commercial competition
       with plaintiff; (3) for the purpose of influencing consumers to buy defendant's
       goods or services. While the representations need not be made in a “classic
       advertising campaign,” but may consist instead of more informal types of
       “promotion,” the representations (4) must be disseminated sufficiently to the
       relevant purchasing public to constitute “advertising” or “promotion” within
       that industry.12

       8
       P & G II, 317 F.3d at 1126 (quoting Newball v. Offshore Logistics Int’l, 803 F.2d
821, 826 (5th Cir. 1986)).
       9
           Id. at 1125-26.
       10
            15 U.S.C. §1125(a)(1)(B).
       11
         P & G II, 317 F.3d at 1274 (“In the present case, appellees effectively raise only
P & G’s failure to fulfill the first element of the four-prong test as grounds for affirmance,
and it is that element which we examine.”).
       12
       P & G I, 222 F.3d at 1273-74 (adopting four-part test from Gordon & Breach
Science Publishers, S.A. v. American Institute of Physics, 859 F.Supp. 1521, 1535-36

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       Reviewing the P & G I, opinion, the Court finds that the Tenth Circuit determined,

as a matter of law, that the Amvox Messages were commercial speech within the meaning

of the first part of the four-part test for “commercial advertising or promotion.” In contrast,

the Tenth Circuit declined to reach the fourth element of the four-part test finding that the

fourth part involved issues of fact.

       In its instructions for remand the Tenth Circuit concluded that the district court

“improvidently granted summary judgment to [Defendants] on P & G’s Lanham Act claim,”13

and “l[eft] it to the district court to consider whether P & G has met those elements of a

§43(a) Lanham Act claim “not before us in this appeal”—i.e. elements other than the first

element of the four-part test.14

       The Tenth Circuit’s mandate consists of its “instructions to the district court at the

conclusion of the opinion, and the entire opinion that preceded those instructions.”15

Because the P & G I opinion and mandate covered the issued regarding the commercial

nature of the speech, this Court is bound by the mandate rule and may not re-examine that

question.

       Further, even if this Court could consider that the issue was not barred by the

mandate rule, the Court would find that, considering the Amvox messages as a whole, they

are commercial speech.


(S.D. N.Y.1994)).
       13
            Id. at 1276.
       14
            Id. at 1276 n.10.
       15
            P & G II, 317 F.3d at 1126 (emphasis added and citation omitted).

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       Accordingly, Plaintiff is entitled to partial summary judgment that (1) Defendants

sent the Amvox Messages; (2) the Amvox Messages were false; and (3) that the Amvox

Messages constituted commercial speech within the meaning of the first part of the four-

part test for determining whether they constitute “commercial advertising or promotion”

under § 43(a)(1)(A) of the Lanham Act.

                                 IV. DEFENDANT’S MOTION

       Defendants move for summary Judgment on Plaintiff’s Lanham Act claim on two

grounds. First, that the Amvox Messages were not sufficiently disseminated to constitute

commercial advertising or promotion under the Lanham Act. Second, Defendants argue

that this Court should apply the Utah Statute codifying privilege in slander and liable cases

to defeat P & G’s federal Lanham Act claim.

       As to the first grounds, as noted above, the issue of whether the Amvox Messages

were “disseminated sufficiently to the relevant purchasing public to constitute ‘advertising’

or ‘promotion’ within the industry”16 was an issue that the Tenth Circuit declined to decide

in P & G I, because it was an issue of fact.17 Thus, sufficient dissemination is an issue that

this Court may reach on remand. Having reviewed the record on summary judgment, the

Court finds that Plaintiff has met its burden of showing a material issue of fact on this fourth

part of the four-part test.




       16
            P & G I, 222 F.3d at 1274.
       17
            Id. at 1276-77 n.9, n.10.

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       Second, Defendants request that this Court apply a Utah statute, Statute § 45-2-

3(3), establishing a state liable and slander law privilege, to defeat the federal Lanham Act

claim. In support it relies upon Rorie v. Edwards, an unpublished Fifth Circuit case

affirming, without substantial analysis, a trial court’s application of Texas’ judicial process

privilege.18 The Court finds the unpublished case to be unpersuasive. The Court find more

persuasive the analysis in Conditioned Ocular Enhancement, Inc. v. Bonaventura.19 In

Bonaventura, the trial court held that an Illinois state law privilege purporting to confer

immunity from suit cannot defeat a federal cause of action under the Lanham Act.20 In

Bonaventura, the state law privilege at issue was a litigation privilege.21

       Further, as was the case with the privilege at issue in Boneventura, there is a

second reason, “separate and apart” from the first, to not apply the statute as Defendants

request—the statute does not apply to the type of claim at issue in the present case.22

The privilege set forth in Utah Code Ann. § 45-2-3(3) is against Utah state law claims of




       18
            48 Fed. Appx. 102 *5 (5th Cir. 2002).
       19
            458 F.Supp.2d 704 (N.D. Ill. 2006).
       20
         Id. at 709. Compare Palmer v. Monticello, 31 F.3d 1499, 1503-05 (10th Cir.
1994) (§ 1983 action holding Utah’s liable and slander privilege contained in § 45-2-3
“may not limit a cause of action for deprivation of a constitutionally protected liberty
interest” under federal law).
       21
            458 F.Supp.2d at 708.
       22
        Id. (citing Steffes v. Stepan Co., 144 F.3d 1070, 1074 (7th Cir. 1998) (declining
to apply Illinois litigation privilege to federal claims because to do so “would insulate
behavior that could otherwise be actionable under Title VII or the ADA.”).

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“libel and slander.”23 Claims of liable and slander are not at issue in this case. Defendants

argue that the conditional privilege of § 45-2-3 has been extended to claims based upon

a defamatory statement. However, the case Defendants rely upon, Russell v. Thompson

Newspapers, Inc.,24 extended the qualified “fair report privilege” found in subsection four

of the Utah statute,25 not the “common interest” privilege claimed by Defendants, which is

found at subsection three. The Court declines Defendants’ invitation to expand Utah law

by holding that the liable and slander privilege set forth in § 34-2-3(3) is applicable to any

cause of action that could arguably be based upon the same operative facts as a

defamatory publication. It is not the place of the federal court to so “expand Utah state law

beyond the bounds set by the Utah Supreme Court or, in the absence of Utah Supreme

Court precedent, by the lower Utah courts.”26

       In its ruling today that there is no persuasive authority for applying the state law

slander and liable privilege set forth in § 45-2-3(3) to the Lanham Act claim in this case,

the Court does not reach the issue of any possible application to the Lanham Act of any

state law privilege other than the specific one claimed by Defendants herein.27 Nor does


       23
         Utah Code Ann. § 45-2-3 (defining “privileged publication or broadcast which
shall not be considered as libelous or slanderous per se”).
       24
            842 P.2d 896 (Utah 1992).
       25
            Utah Code Ann. § 45-2-3.
       26
        P & G I, 222 F.3d at 1280 (citing Tayor v. Phelan, 9 F.3d 882, 887 (10th Cir.
1993) (“as a federal court, we are generally reticent to expand state law without clear
guidance from [the state’s] highest court.”)).
       27
         This fact alone distinguishes the Rorie case because it involved the application
of a different privilege than the one claimed by Defendants herein.

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this case involve any issues of a claim of a testimonial or other evidentiary privilege.28

Finally, this case does not involve a federal court’s necessary application of a state law

privilege to a state law claim.29      The Court will deny Defendants’ Motion for Summary

Judgment

                                          V. ORDER

       Based upon the foregoing it is therefore

       ORDERED that Plaintiffs’ Motion for Summary Judgment (Docket No. 916) is

GRANTED as set forth above. It is further

       ORDERED that Defendants’ Motion for Summary Judgment on Lanham Act (Docket

No. 919) is DENIED.

       DATED February 6, 2007.

                                             BY THE COURT:


                                             ___________________________________
                                             TED STEWART
                                             United States District Judge




       28
            See Fed. R. Civ. P. 501.
       29
         C.f. Cardtoons, L.C. v. Major League Baseball Players Ass’n, 335 F.3d 1161,
1166-67 (10th Cir. 2003) (applying Oklahoma’s expanded form of its litigation privilege
to a claim of liable brought under Oklahoma law).

                                                9
